 

SBK/2012R00048 . .
UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA : , H
: Hon. FS
Vv. : Criminal No. 12- [12

VITALY KOVALEV 18 U.S.C. § 1349

a/k/a “Bentley,” 18 U.S.C. § 1344

a/k/a “Bergen,” 18 U.S.C. § 2

a/k/a “Alex Konor”

INDICTMENT
The grand jury in and for the District of New Jersey,
sitting at Newark, charges:
COUNT 1
18 U.S.C. § 1349
(Conspiracy to Commit Bank Fraud)
*‘ BACKGROUND
1. At all times relevant to this Indictment:
a. Defendant Vitaly Kovalev, a/k/a “Bentley,” a/k/a
“Bergen,” a/k/a “Alex Konor,” was a citizen of Russia and resided
in Russia.
b. “T.K.," “M.O.,” “M.M.,"” “R.G.,” “A.K.,” and
‘“S.T.,” coconspirators who are not charged as defendants herein,
were citizens of Russia and resided in or near New York City.
Cc. Ally Bank, Bank of America, JPMorgan Chase Bank
(“Chase Bank”), First Niagara Bank, SunTrust Bank, TD Bank,
United Western Bank, Wachovia Bank, Wells Fargo Bank, and other

banks (collectively, “the Victim Banks" ) were financial

institutions within the meaning of Title 18, United States Code,
 

 

 

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Section 20.

2. Between at least as early as in or about September 2009
and in or about November 2010, in Bergen, Hudson, Mercer,
Middlesex, and Union Counties, in the District of New Jersey, and
elsewhere, defendant

VITALY KOVALEV
a/k/a “Bentley,”
a/k/a “Bergen,”
a/k/a “Alex Konor”
did knowingly and intentionally conspire and agree with “I.K.,”
“M.O.,"” “M.M.,” “R.G.,” “A.K.,” “S.T.,"” and others to execute a
scheme and artifice to defraud financial institutions, and to
obtain moneys, funds, credits, assets, securities, and other
property owned by, and under the custody and control of,
financial institutions, by means of materially false and

fraudulent pretenses, representations, and promises, contrary to

Title 18, United States Code, Section 1344.

OBJECT OF THE CONSPIRACY
3. It was the object of the conspiracy for defendant
Kovalev, I.K., M.O., M.M., R.G., A.K., S.T. and others to profit
by withdrawing money that had been fraudulently transferred out
of accounts at the Victim Banks and then wiring a percentage of

those proceeds overseas.
 

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MANNER AND MEANS OF THE CONSPIRACY

4. It was part of the conspiracy that defendant Kovalev
obtained unauthorized access to online bank accounts at the
Victim Banks and at other financial institutions throughout the
United States (“Victim Accounts”).

5. It was further part of the conspiracy that defendant
Kovalev caused unauthorized withdrawals from the Victim Accounts
in amounts ranging from approximately $5,000 to approximately
$50,000 at a time.

6. It was further part of the conspiracy that I.K., M.O.,
M.M., R.G., A.K., §.T. and others opened and made available to
defendant Kovalev bank accounts into which money stolen from the
Victim Accounts could be deposited (“Drop Accounts”).

7. It was further part of the conspiracy that I.K., M.O.,
M.M., R.G., A.K., S.T. and others opened Drop Accounts using
either false names and counterfeit foreign passports or their own
names and identification documents.

8. It was further part of the conspiracy that on or about
the same date that defendant Kovalev deposited funds stolen from
the Victim Accounts into the Drop Accounts, defendant Kovalev
instructed I.K. to have M.O., M.M., R.G., A.K., S.T., and others
travel to bank branches in New Jersey, New York, and elsewhere to
withdraw the stolen money in cash.

9. It was further part of the conspiracy that, both to
 

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evade detection by the Victim Banks and to withdraw the stolen

money as quickly as possible before the true owners of the Victim

Accounts realized that their accounts had been compromised, I.K.,
M.O., M.M., R.G., A.K., S.T. and others traveled to different
bank branches where they held Drop Accounts on the same day to
make withdrawals from Drop Accounts.

10. It was further part of the conspiracy that defendant
Kovalev instructed I.K. to send and cause to be sent a portion of
the stolen proceeds overseas by Western Union and Moneygram wire
transfer services to names that defendant Kovalev provided.

11. It was further part of the conspiracy that defendant
Kovalev, I.K., M.O., M.M., R.G., A.K., S.T. and others stole and
withdrew at least approximately $950,000 from the Victim Banks
and transferred at least approximately $720,000 overseas.

The September 23 Drops

12. It was further part of the conspiracy that on or about
September 23, 2009, defendant Kovalev told I.K. by instant
message that four deposits totaling approximately $20,000 would
be transferred from Victim Accounts into Chase Bank Drop Accounts
in the name of Oleksandra Kaverina ("the Kaverina Drop
Accounts").

13. It was further part of the conspiracy that later on
September 23, 2009, I.K. told defendant Kovalev by instant

message that at least $9,900 had been withdrawn from the Kaverina
 

 

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Drop Accounts, and that, despite I.K. and others having attempted
to withdraw additional funds at three branches, two transfers
remained pending.

The September 25 Drops

14. It was further part of the conspiracy that on or about
September 25, 2009, defendant Kovalev told I.K. by instant
message that approximately $28,000 had been transferred from a
bank account in the name of Company HC into Drop Accounts in the
names of Kelly Courtine and Anthony Doyle, and that additional
money would be transferred into a Drop Account in the name of
Andrey Sidorin (collectively, "the September 25 Drops").

15. It was further part of the conspiracy that later on
September 25, 2009, I.K. caused M.O., M.M., R.G., A.K., S.T., and
others to withdraw the funds deposited into Drop Accounts in the
names of the September 25 Drops.

16. It was further part of the conspiracy that later on
September 25, 2009, defendant Kovalev instructed I.K. via text
message to send approximately $26,000 via Western Union and
Moneygram to six individuals in Moscow, Russia and Bucharest,
Romania.

17. It was further part of the conspiracy that later on
September 25, 2009, I.K. caused M.M. and others to wire
approximately $26,000, representing approximately 70 percent of

the stolen proceeds for that day, via Moneygram and Western Union
 

 

 

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to the same names that defendant Kovalev provided to I.K.

The September 26 Drops

18. It was further part of the conspiracy that on or about
September 26, 2009, defendant Kovalev told IK. by instant
message that five transfers totaling approximately $75,000 had
been made from a Victim Account in the name of Company HY into
Drop Accounts in the names of Andrey Bykov, Nina Iakovlieva,
Oleksandra Kave, Victor Yanin, and Volodymyr Kit (“the September
26 Drops”) and that the funds should be ready to be picked up in
the morning.

19. It was further part of the conspiracy that on or about
September 26, 2009, I.K. told defendant Kovalev via instant
message that the funds from the September 26 Drops were ready for
pickup.

20. It was further part of the conspiracy that on or about
September 26, 2009, defendant Kovalev told I.K. via instant
message that approximately $64,000 had been transferred to the
September 26 Drops and directed I.K. to transfer approximately 70
percent of that amount via money transfer service to nine
individuals in St. Petersburg, Volgograd, and Moscow, Russia.

21. It was further part of the conspiracy that on or about
September 26, 2009, I.K. caused S.T. and others to wire
approximately $40,000 to the same names that defendant Kovalev

provided to I.K.
 

 

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The Frans Drop Account

22. It was further part of the conspiracy that on or about
December 15, 2009, defendant Kovalev caused approximately $11,600
to be transferred from the account of Company FTTI at SunTrust
Bank to a Drop Account opened in the name of Daavit Frans (“the
Frans Drop Account”).

23. It was further part of the conspiracy that on or about
December 15, 2009, M.M. entered a TD Bank branch in Guttenberg,
New Jersey, identified himself as Daavit Frans, and withdrew
approximately $6,000 in cash from the Frans Drop Account.

24. It was further part of the conspiracy that on or about
December 15, 2009, M.M. entered a TD Bank branch in Hoboken, New
Jersey, identified himself as Daavit Frans, and attempted to
withdraw approximately $5,640 from the Frans Drop Account.

In violation of Title 18, United States Code, Section 1349.
 

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COUNTS 2 THROUGH 9
18 U.S.C. § 1344
18 U.S.C. § 2
(Bank Fraud)
1. Paragraphs 1 and 4 through 24 of Count 1 of this
Indictment are realleged as if set forth herein.
2. On or about the dates set forth below, in the District
of New Jersey and elsewhere, defendant
VITALY KOVALEV,
a/k/a "Bentley,"
a/k/a "Bergen,"
a/k/a "Alex Konor"
did knowingly and intentionally execute and attempt to execute a
scheme and artifice to defraud the financial institutions set
forth below and to obtain the moneys, funds, credits, assets,
securities, and other property owned by, and under the custody
and control of those financial institutions by means of

materially false and fraudulent pretenses, representations, and

promises, by making unauthorized transfers in the approximate

amounts below:

 

 

 

 

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LSyANN TAG NANO

2 11/27/09 | T.B. & L.B. Wells Eriksson $11,553
Fargo

3 12/04/09 A.W. Ally Kalevi $13,940
Bank

4 12/04/09 A.W. Ally Rolinskij $14,000
Bank

5 12/09/09 R.M. Ally Frans $14,180
Bank

 

 

 

 

 

 

 

 
 

 

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6 12/11/09 R.M Ally Frans $11,553
Bank
7 12/15/09 | Company FTTI | SunTrust Lassi $10,740
Bank
8 12/15/09 | Company FITI | SunTrust Lassi $14,720
Bank
9 12/15/09 | Company FTTI | SunTrust Frans $11,600
Bank

 

 

 

 

 

 

 

 

In violation of Title 18,

and Section 2.

United States Code,

Section 1344
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FORFEITURE ALLEGATION

1. . The allegations contained in Counts 1 through 9 of this
Indictment are hereby realleged and incorporated by reference for
the purpose of noticing forfeitures pursuant to Title 18, United
States Code, Sections 981(a) (1) (C) and 982(a) (2) (A), and Title
28, United States Code, Section 2461(c).

2. The United States hereby gives notice to defendant
Vitaly Kovalev, as charged in Counts 1 through 9, that, upon
their conviction of any such offense, the government will seek
forfeiture in accordance with Title 18, United States Code,
Sections 981(a) (1) (C) and 982 (a) (2) (A) and Title 28, United
States Code, Section 2461(c), which requires any person convicted
of such offenses to forfeit any property constituting or derived
from proceeds obtained directly or indirectly as a result of such
offenses.

3. If any of the above-described forfeitable property, as
a result of any act or omission of the defendant:

(a) cannot be located upon the exercise of due
diligence;

(b) has been transferred or sold to, or deposited
with, a third party;

(c) has been placed beyond the jurisdiction of
the court;

(d) has been substantially diminished in value; or
 

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(e) has been commingled with other property which
cannot be divided without difficulty;
it is the intent of the United States, pursuant to Title 21,
United States Code, Section 853(p), as incorporated by Title 28,
United States Code, Section 2461(c) and Title 18, United States
Code, Section 982(b) (1), to seek forfeiture of any
other property of such defendant up to the value of the
forfeitable property described in paragraph 2 of this Forfeiture

Allegation.

A TRUE BILL

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PAUL J. FISHMAN
United States Attorney
 

 

 

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